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Young Adult Psychological Outcome After Puberty
Suppression and Gender Reassignment
        WHAT’S KNOWN ON THIS SUBJECT: Puberty suppression has                 AUTHORS: Annelou L.C. de Vries, MD, PhD,a Jenifer K.
        rapidly become part of the standard clinical management               McGuire, PhD, MPH,b Thomas D. Steensma, PhD,a Eva C.F.
        protocols for transgender adolescents. To date, there is only         Wagenaar, MD,a Theo A.H. Doreleijers, MD, PhD,a and Peggy T.
        limited evidence for the long-term effectiveness of this approach     Cohen-Kettenis, PhDa
                                                                              aCenter of Expertise on Gender Dysphoria, VU University Medical
        after gender reassignment (cross-sex hormones and surgery).
                                                                              Center, Amsterdam, Netherlands; and bDepartment of Human
                                                                              Development, Washington State University, Pullman, Washington
        WHAT THIS STUDY ADDS: In young adulthood, gender dysphoria
        had resolved, psychological functioning had steadily improved,        KEY WORDS
                                                                              gender dysphoria, transgenderism, adolescents, psychological
        and well-being was comparable to same-age peers. The clinical         functioning, puberty suppression, longitudinal outcomes
        protocol including puberty suppression had provided these
                                                                              ABBREVIATIONS
        formerly gender-dysphoric youth the opportunity to develop into       ABCL—Adult Behavior Checklist
        well-functioning young adults.                                        ASR—Adult Self-Report
                                                                              BDI—Beck Depression Inventory
                                                                              BIS—Body Image Scale
                                                                              CBCL—Child Behavior Checklist
                                                                              CGAS—Children’s Global Assessment Scale

abstract                                                                      CSH—cross-sex hormones
                                                                              GD—gender dysphoria
                                                                              GnRHa—gonadotropin-releasing hormone analogs
BACKGROUND: In recent years, puberty suppression by means of                  GRS—gender reassignment surgery
gonadotropin-releasing hormone analogs has become accepted in                 SHS—Subjective Happiness Scale
clinical management of adolescents who have gender dysphoria (GD).            STAI—Spielberger’s Trait Anxiety Scale
                                                                              SWLS—Satisfaction With Life Scale
The current study is the ﬁrst longer-term longitudinal evaluation of          TPI—Spielberger’s Trait Anger Scale
the effectiveness of this approach.                                           UGDS—Utrecht Gender Dysphoria Scale
                                                                              YSR—Youth Self-Report
METHODS: A total of 55 young transgender adults (22 transwomen and
33 transmen) who had received puberty suppression during adoles-              Dr de Vries conceptualized the study, clinically assessed the
                                                                              participants, drafted the initial manuscript, and reviewed and
cence were assessed 3 times: before the start of puberty suppression          revised the manuscript; Dr McGuire conceptualized the study,
(mean age, 13.6 years), when cross-sex hormones were introduced               planned and carried out the analyses, assisted in drafting the
(mean age, 16.7 years), and at least 1 year after gender reassignment         initial manuscript, and reviewed and revised the manuscript;
                                                                              Dr Steensma conceptualized the study, coordinated and
surgery (mean age, 20.7 years). Psychological functioning (GD, body im-       supervised data collection, and reviewed and revised the
age, global functioning, depression, anxiety, emotional and behavioral        manuscript; Dr Wagenaar coordinated and invited participants
problems) and objective (social and educational/professional function-        for assessments and reviewed and revised the manuscript; Drs
                                                                              Doreleijers and Cohen-Kettenis conceptualized the study and
ing) and subjective (quality of life, satisfaction with life and happiness)
                                                                              reviewed and revised the manuscript; and all authors approved
well-being were investigated.                                                 the ﬁnal manuscript as submitted.
RESULTS: After gender reassignment, in young adulthood, the GD was            Dr McGuire’s current afﬁliation is Department of Family Social
alleviated and psychological functioning had steadily improved. Well-         Science, College of Education and Human Development, St Paul,
                                                                              Minnesota.
being was similar to or better than same-age young adults from
                                                                              www.pediatrics.org/cgi/doi/10.1542/peds.2013-2958
the general population. Improvements in psychological functioning
were positively correlated with postsurgical subjective well-being.           doi:10.1542/peds.2013-2958
                                                                              Accepted for publication Jul 7, 2014
CONCLUSIONS: A clinical protocol of a multidisciplinary team with men-
                                                                              Address correspondence to Annelou L.C. de Vries, MD, PhD, Child
tal health professionals, physicians, and surgeons, including puberty sup-
                                                                              and Adolescent Psychiatrist, Center of Expertise on Gender
pression, followed by cross-sex hormones and gender reassignment              Dysphoria, VU University Medical Center, PO Box 7057, 1007 MB
surgery, provides gender dysphoric youth who seek gender reassignment         Amsterdam, Netherlands. E-mail: alc.devries@vumc.nl
from early puberty on, the opportunity to develop into well-functioning                                              (Continued on last page)
young adults. Pediatrics 2014;134:696–704                                                    PLAINTIFFS' EX.




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Transgender adolescents experience an           nessofthisapproach.Intheﬁrstcohortof              have a female gender identity] and 33
incongruence between their assigned             adolescents who received GnRHa, we                transmen [natal females who have a
gender and their experienced gender             demonstrated an improvement in several            male gender identity]) of the ﬁrst cohort
and may meet the Diagnostic and Statis-         domains of psychological functioning              of 70 adolescents who had GD who were
tical Manual of Mental Disorders 5 crite-       after, on average, 2 years of puberty             prescribed puberty suppression at the
ria for gender dysphoria (GD).1 Fifteen         suppression while GD remained un-                 Center of Expertise on Gender Dysphoria
years ago, pubertal delay was intro-            changed.16 The current study is a longer-         of the VU University Medical Center and
duced as an aid in the treatment of a gen-      term evaluation of the same cohort, on            continued with GRS between 2004 and
der dysphoric adolescent.2 Although not         average, 6 years after their initial pre-         2011. These adolescents belonged to a
without debate, blocking pubertal devel-        sentation at the gender identity clinic.          group of 196 consecutively referred
opment has rapidly become more widely           This time, we were not only interested in         adolescents between 2000 and 2008, of
available3–7 and is now part of the clin-       psychological functioning and GD, but             whom 140 had been considered eligible
ical management guidelines for GD.8–12          added as important outcome measures               for medical intervention and 111 were
Gonadotropin-releasing hormone ana-             objective and subjective well-being (often        prescribed puberty suppression (see de
logs (GnRHa) are a putatively fully re-         referred to as “quality of life”), that is, the   Vries et al16). The young adults were
versible13 medical intervention intended        individuals’social life circumstances and         invited between 2008 and 2012, when
to relieve distress that gender dys-            their perceptions of satisfaction with life       they were at least 1 year past their GRS
phoric adolescents experience when              and happiness.17–19 After all, treatment          (vaginoplasty for transwomen, mastec-
                                                cannot be considered a success if GD              tomy and hysterectomy with ovariec-
their secondary sex characteristics de-
                                                resolves without young adults reporting           tomy for transmen; many transmen
velop. A protocol designed by Cohen-
                                                they are healthy, content with their lives,       chose not to undergo a phalloplasty or
Kettenis and Delemarre-van de Waal14
                                                and in a position to make a good start
(sometimes referred to as “the Dutch                                                              were on a long waiting list). Non-
                                                with their adult professional and per-            participation (n = 15, 11 transwomen
model”)4,7 considers adolescents, after
                                                sonal lives.20 Because various studies            and 4 transmen) was attributable to
a comprehensive psychological evalua-
                                                show that transgender youth may pres-             not being 1 year postsurgical yet (n =
tion with many sessions over a longer
                                                ent with psychosocial problems,21,22
period of time, eligible for puberty                                                              6), refusal (n = 2), failure to return
                                                a clinical approach that includes both
suppression, cross-sex hormones (CSH),                                                            questionnaires (n = 2), being medi-
                                                medical (puberty suppression) and
and gender reassignment surgery (GRS)                                                             cally not eligible (eg, uncontrolled di-
                                                mental health support (regular sessions,
at the respective ages of 12, 16, and 18                                                          abetes, morbid obesity) for surgery
                                                treatment when necessary, see Cohen-
years when there is a history of GD; no                                                           (n = 3), dropping out of care (n = 1),
                                                Kettenis et al12) aims to improve long-
psychosocial problems interfering with                                                            and 1 transfemale died after her vag-
                                                term well-being in all respects.
assessment or treatment, for example,                                                             inoplasty owing to a postsurgical
treatment might be postponed because            In the present longitudinal study, 3 pri-         necrotizing fasciitis. Between the 55
of continuous moving from 1 institution         mary researchquestions areaddressed.              participants and the 15 nonpartici-
to another or repeated psychiatric cri-         Do gender dysphoric youth improve over            pating individuals, Student’s t tests re-
ses; adequate family or other support;          time with medical intervention consist-           vealed no signiﬁcant differences on any
                                                ing of GnRHa, CSH, and GRS? After gender          of the pretreatment variables. A similar
and good comprehension of the impact
                                                reassignment, how satisﬁed are young              lack of differences was found between
of medical interventions.12 Puberty sup-
                                                adults with their treatment and how do            the 40 participants who had complete
pression is only started after the ado-
                                                they evaluate their objective and sub-
lescent actually enters the ﬁrst stages of                                                        data and the 15 who were missing some
                                                jective well-being? Finally, do young
puberty (Tanner stages 2–3), because                                                              data.
                                                people who report relatively greater
although in most prepubertal children                                                             Participants were assessed 3 times:
                                                gains in psychological functioning also
GD will desist, onset of puberty serves as                                                        pre-treatment (T0, at intake), during
                                                report a higher subjective well-being
a critical diagnostic stage, because the                                                          treatment (T1, at initiation of CSH), and
                                                after gender reassignment?
likelihood that GD will persist into                                                              post-treatment (T2, 1 year after GRS).
adulthood is much higher in adolescence                                                           See Table 1 for age at the different time
                                                METHODS
than in the case of childhood GD.15,16                                                            points. The VU University Medical Cen-
Despite the apparent usefulness of pu-          Participants and Procedure                        ter medical ethics committee approved
berty suppression, there is only limited        Participants included 55 young adults             the study, and all participants gave in-
evidence available about the effective-         (22 transwomen [natal males who                   formed consent.


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TABLE 1 Age at Different Treatment Milestones and Intelligence by Gender
        Variable                   All Participantsa (N = 55)                               Transwomen (Natal Males) (N = 22)                 Transmen (Natal Females) (N = 33)
Age, y                                    Mean (SD)                      Range                            Mean (SD)                                        Mean (SD)
   At assessment PreT                      13.6 (1.9)                   11.1–17.0                          13.6 (1.8)                                       13.7 (2.0)
   At start of GnRHa                       14.8 (1.8)                   11.5–18.5                          14.8 (2.0)                                       14.9 (1.9)
   At start of CSH                         16.7 (1.1)                   13.9–19.0                          16.5 (1.3)                                       16.8 (1.0)
   At GRS                                  19.2 (0.9)                   18.0–21.3                          19.6 (0.9)                                       19.0 (0.8)
   At assessment PostT                     20.7 (1.0)                   19.5–22.8                          21.0 (1.1)                                       20.5 (0.8)
Full-scale intelligenceb                   99.0 (14.3)                    70–128                           97.8 (14.2)                                     100.4 (14.3)
PostT, post-treatment; PreT, pre-treatment.
a Comparisons between those who had complete data (n = 40) and those who had missing data on the CBCL/ABCL (n = 15) reveal no signiﬁcant differences between the groups in age at any

point in the study or in natal sex.
b WISC-R, the WISC-III, or the WAIS-III at ﬁrst assessment, depending on age and time.45–47




Measures                                                      treated as their assigned gender. This                         as living conditions, school and employ-
Time was the predominate independent                          way, however, decreased GD caused by                           ment, and social support (objective well-
variable. Other demographic charac-                           social transitioning was not measured.                         being), and satisfaction with treatment
teristics were incorporated in some                           At T2 young adults ﬁlled out the ver-                          (subjective well-being). Three instruments
models, including, age, natal sex, Full                       sions of their afﬁrmed gender.                                 further assessed subjective well-being. To
Scale Intelligence, and parent marital                                                                                       measure quality of life, the WHOQOL-BREF
                                                              Psychological Functioning                                      (quality of life measure developed by the
status; where signiﬁcantly different
they are reported.                                            There were 10 indicators assessing                             World Health Organization) was adminis-
                                                              psychological functioning. To assess                           tered (24 items, 4 domains: Physical
Gender Dysphoria/Body Image                                   global functioning, the Children’s Global                      Health, Psychological Health, Social Rela-
There was 1 indicator measuring GD                            Assessment Scale (CGAS) was used.25                            tionships, and Environment, 1–5 range
(UtrechtGenderDysphoriaScale[UGDS])                           The Beck Depression Inventory (BDI; 21                         with higher scores indicating better
and 3 indicators measuring body image                         items, 0–3 range) indicates presence                           quality of life).17 The Satisfaction With Life
(Body Image Scale [BIS] with primary,                         and severity of depressive symptoms.26                         Scale (SWLS, 5 items, 5–35 range, 20 being
secondary, and neutral subscales).                            Spielberger’s Trait Anger (TPI) and                            neutral) was used to assess life satisfac-
Higher UGDS (12 items, 1–5 range, total                       Spielberger’s Trait Anxiety (STAI; 10 and                      tion.18 Higher scores on the Subjective
score ranging from 12–60) total scores                        20 items, respectively, 1–4 range) scales                      Happiness Scale (SHS, 4 items, 7-point
indicate higher levels of GD, for exam-                       of the State-Trait Personality Inventory                       Likert scale, average score 1–7) reﬂect
ple, “I feel a continuous desire to be                        were administered to assess the ten-                           greater happiness.19
treated as a man/woman.”23 There are                          dency to respond with anxiety or anger,
separate versions of the UGDS for males                       respectively, to a threatening or annoy-                       Data Analyses
and females with mostly different items,                      ing situation.27,28                                            General Linear Models examined the
permitting no gender difference analy-                        Behavioral and emotional problems                              repeated measures with an analysis of
ses. BIS (30 items, 1–5 range) higher                         were assessed by the total, internalizing,                     variance-based model, incorporating
scores indicate more dissatisfaction                          and externalizing T scores as well as                          continuous and categorical predictors,
with primary sex characteristics (impor-                      clinical range scores for these 3 indices                      and correcting for the unbalanced cell
tant gender-deﬁning body character-                           (T score .63) of the Child/Adult Be-                           sizes. Linear and quadratic effects of the
istics, eg, genitals, breasts), secondary                     havior Checklist (CBCL at T0 and T1,                           14 indicators across 3 time points, with
sex characteristics (less obvious gender-                     ABCL at T2), the Youth/Adult Self-Report                       time as the within-subjects factor, and
deﬁning features, eg, hips, body hair),                       (YSR at T0 and T1, ASR at T2).29–31 Items                      sex as a between-subjects factor in
and neutral (hormonally unresponsive)                         referring to GD in the CBCL/YSR and                            a second set of analyses are reported in
body characteristics (eg, face, height).24                    ABCL/ASR were scored as 0 (for more                            Tables 2 and 3 and Fig 1. A linear effect
The male and the female BIS are identical                     explanation, see Cohen-Kettenis et al32).                      signiﬁes an overall change across T0 to
except for the sexual body parts. The                                                                                        T2. A quadratic effect signiﬁes that the
UGDS and the BIS of the natal gender                          Objective and Subjective Well-Being                            change was not continuous, such as
were administered at T0 and T1. At T1,                        (T2 Only)                                                      when an indicator does not improve
we chose the UGDS of the assigned                             A self-constructed questionnaire was                           from T0 to T1 but improves from T1 to T2.
gender, because no physical changes                           used to ask the young adults about                             It is possible to have both a signiﬁcant
had occurred yet and some were still                          their current life circumstances, such                         linear and quadratic effect on the same


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TABLE 2 Gender Dysphoria and Body Image of Adolescents at Intake (T0), While on Puberty Suppression (T1), and After Gender Reassignment (T2)
                                      Na            T0                 T1                T2           T0–T2                    Time                             Time 3 Sex

                                                                                                      t test     Linear Effect Quadratic Effect        Linear Effect Quadratic Effect

                                               Mean (SD)          Mean (SD)         Mean (SD)           P                        P                                       P
UGDS                                  33      53.51 (8.29)       54.39 (7.70)       15.81 (2.78)      ,.001
  MtF                                 11      47.07 (11.05)      48.95 (10.80)      17.27 (2.57)      ,.001                   ,.001                                  n/a
                                                                                                                              ,.001
  FtM                                 22      56.74 (3.74)       57.11 (3.40)       15.08 (2.64)      ,.001                   ,.001                                  n/a
                                                                                                                              ,.001
Body Image (BIS)
Primary sex characteristics           45       4.13 (0.59)        4.05 (0.60)        2.59 (0.82)      ,.001                   ,.001                                  .01
                                                                                                                              ,.001                                  .45
  MtF                                 17       4.03 (0.68)        3.82 (0.56)        2.07 (0.74)      ,.001
  FtM                                 28       4.18 (0.53)        4.13 (0.60)        2.89 (0.71)      ,.001
Secondary sex characteristics         45       2.73 (0.72)        2.86 (0.67)        2.27 (0.56)      ,.001                   ,.001                                 .10
                                                                                                                              ,.001                                ,.001
  MtF                                 17       2.63 (0.60)        2.34 (0.68)        1.93 (0.63)      ,.001
  FtM                                 28       2.80 (0.72)        3.18 (0.43)        2.48 (0.40)       .05
Neutral body characteristics          45       2.35 (0.68)        2.49 (0.53)        2.23 (0.49)       .29                      .29                                  .007
                                                                                                                                .01                                  .01
  MtF                                 17       2.57 (0.70)        2.29 (0.50)        2.09 (0.56)        .014
  FtM                                 28       2.21 (0.64)        2.61 (0.52)        2.32 (0.44)        .40
FtM, female to male transgender; MtF, male to female transgender; n/a, not applicable.
a Participants who had complete data at all 3 waves were included. Some assessments were added to the study later, yielding fewer total participants for those scales.




indicator. Other potential between-                            RESULTS                                                        Psychological Functioning
subjects factors (age, total IQ, parental                                                                                     As presented in Table 3, signiﬁcant lin-
                                                               Gender Dysphoria and Body
marital status) were examined but ex-                          Satisfaction                                                   ear effects showed improvement over
cluded owing to a lack of relationship                                                                                        time in global functioning (CGAS), CBCL/
with the 14 indicators at T0. The 1 ex-                        Figure 1 and Table 2 show that GD
                                                               and body image difﬁculties persisted                           ABCL total, internalizing and externaliz-
ception, age predicting secondary sex                                                                                         ing T scores, and YSR/ASR total and in-
                                                               through puberty suppression (at T0 and
characteristics, is described below in the                                                                                    ternalizing T scores. Quadratic effects
                                                               T1) and remitted after the administra-
ﬁndings. We compared T2 sample means                                                                                          revealed decreases from T0 to T1 fol-
                                                               tion of CSH and GRS (at T2) (signiﬁcant
to population norms for subjective well-                                                                                      lowed by increases from T1 to T2 in
                                                               linear effects in 3 of 4 indicators, and
being using 1-sample t tests from pre-                                                                                        depression and YSR/ASR internalizing
                                                               signiﬁcant quadratic effects in all indi-
viously published validation studies.                                                                                         T scores. Quadratic trends revealed
                                                               cators). Time by sex interactions re-
Finally, we examined T2 subjective well-                                                                                      decreases from T0 to T1, followed by
                                                               vealed that transwomen reported more
being correlations with residual change                                                                                       increases from T1 to T2 in depression
                                                               satisfaction over time with primary sex
scores from T0 to T2 on the 14 indicators                                                                                     and YSR/ASR internalizing T scores. For
                                                               characteristics than transmen and
(an indicator of who improved relatively                                                                                      all CBCL/ABCL and YSR/ASR indicators
                                                               a continuous improvement in satisfac-
more or less over time).                                                                                                      except YSR/ASR externalizing, the per-
                                                               tion with secondary and neutral sex
All measures used were self-reported,                          characteristics. Transmen reported more                        centage in the clinical range dropped
except the CGAS (attending clinician)                          dissatisfaction with secondary and neu-                        signiﬁcantly (McNemar’s test, P value
and the CBCL/ASR (parents). Each par-                          tral sex characteristics at T1 than T0, but                    ,0.05) from T0 to T1, from T0 to T2, or
ticipant was given all measures at each                        improvement in both from T1 to T2. Age                         from T1 to T2.
of3assessments. Numbersvaried across                           was a signiﬁcant covariate with second-                        Over time, transmen showed reduced
indicators owing to the later inclusion                        ary sex characteristics (the only signiﬁ-                      anger, anxiety, and CBCL/ABCL external-
of the YSR, CGAS, BDI, TPI, and STAI,                          cant demographic covariate with any                            izing T scores, whereas transwomen
yielding 8 persons who had missing                             outcome indicator in the study), indi-                         showed stable or slightly more symp-
data at T0 and a clinician error yielding                      cating that older individuals were more                        tomatology on these measures. Trans-
missing data at T1 for 10 participants                         dissatisﬁed at T0, but the age gap in body                     women improved in CBCL/ABCL total T
on the UGDS. Dutch versions were used                          satisfaction narrowed over time (F(1, 42)                      scores in a quadratic fashion (all the
(see de Vries et al16).                                        = 8.18; P , .01).                                              improvement between T1 and T2),


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TABLE 3 Psychological Functioning of Adolescents at Intake (T0), While on Puberty Suppression (T1), and After Gender Reassignment (T2)
                                    Na             T0                   T1                   T2             T0–T2                      Time                                Time 3 Sex

                                                                                                            t test      Linear Effect Quadratic Effect           Linear Effect Quadratic Effect

                                              Mean (SD)            Mean (SD)            Mean (SD)             P                          P                                       P
Global functioning (CGAS)           32       71.13 (10.46)       74.81 (9.86)         79.94 (11.56)        ,.001                      ,.001                                     .89
                                                                                                                                       .61                                      .68
  MtF                               15       74.33 (7.53)        78.20 (9.56)         82.40 (8.28)         ,.001
  FtM                               17       67.65 (11.87)       70.65 (9.89)         76.29 (14.48)         .02
Depression (BDI)                    32        7.89 (7.52)         4.10 (6.17)          5.44 (8.40)          .21                          .23                                    .66
                                                                                                                                         .04                                    .49
  MtF                               12        4.73 (4.20)         2.25 (3.54)          3.38 (4.40)            .12
  FtM                               20       10.09 (8.34)         5.05 (7.08)          6.95 (9.83)            .32
Anger (TPI)                         32       17.55 (5.72)        17.22 (5.61)         16.01 (5.28)            .20                        .15                                    .04
                                                                                                                                         .52                                    .12
  MtF                               12       14.17 (3.01)        14.00 (3.36)          5.58 (3.92)            .18
  FtM                               20       19.55 (5.96)        19.25 (5.69)         16.56 (6.06)            .05
Anxiety (STAI)                      32       39.57 (10.53)       37.52 (9.87)         37.61 (10.39)           .45                        .42                                    .05
                                                                                                                                         .47                                    .52
   MtF                              12       31.87 (7.42)        31.71 (8.36)         35.83 (10.22)           .14
   FtM                              20       44.41 (9.06)        41.59 (9.03)         39.20 (10.53)           .12
CBCL–ABCL
Total T score                       40       60.20 (12.66)       54.70 (11.58)        48.10 (9.30)         ,.001                      ,.001                                     .25
   % Clinical                                   38x                 20y                   5y                                           .68                                      .03
   MtF                              15       57.40 (12.76)       49.67 (12.29)        48.13 (12.58)         .002
   FtM                              25       61.88 (12.56)       57.72 (10.23)        48.08 (6.95)         ,.001
Int T score                         40       60.83 (12.36)       54.42 (10.58)        50.45 (10.04)        ,.001                      ,.001                                     .91
   % Clinical                                   30x               12.5y                  10y                                           .42                                      .33
   MtF                              15       59.40 (10.03)       50.93 (11.15)        48.73 (12.61)        ,.001
   FtM                              25       61.68 (13.70)       56.52 (9.86)         51.48 (8.25)         ,.001
Ext T score                         40       57.85 (13.73)       53.85 (12.77)        47.85 (8.59)         ,.001                      ,.001                                     .19
   % Clinical                                   40x                 25x                 2.5y                                           .43                                      .12
   MtF                              15       52.53 (14.11)       47.87 (12.07)        46.33 (10.95)         .10
   FtM                              25       61.04 (12.71)       57.44 (12.01)        48.76 (6.89)         ,.001
YSR-ASR
Total T score                       43       54.72 (12.08)       49.16 (11.16)        48.53 (9.46)            .005                       .005                                   .28
   % Clinical                                   30x                14xy                   7y                                             .07                                    .75
   MtF                              17       50.65 (12.19)       45.94 (12.24)        47.24 (12.28)           .28
   FtM                              26       57.38 (11.47)       51.27 (10.08)        49.38 (7.21)            .01
Int T score                         43       55.47 (13.08)       48.65 (12.33)        50.07 (11.15)           .03                        .03                                    .87
   % Clinical                                   30x                9.3y               11.6xy                                             .008                                   .73
   MtF                              17       54.00 (12.31)       47.59 (14.26)        48.12 (12.54)           .04
   FtM                              26       56.42 (13.86)       49.35 (11.13)        51.35 (10.19)           .17
Ext T score                         43       52.77 (12.47)       49.44 (9.59)         49.44 (9.37)            .14                        .14                                    .005
   % Clinical                                   21x               11.6x                   7x                                             .09                                    .14
   MtF                              17       46.00 (11.58)       44.71 (9.53)         50.24 (11.18)           .17
   FtM                              26       57.16 (11.14)       52.54 (8.43)         48.92 (8.18)            .006
FtM, female to male transgender; MtF, male to female transgender.
xy Percent clinical range, shared subscripts indicate no signiﬁcant difference in values. In no case was an increase in percent in the clinical range signiﬁcant from 1 time point to any other time
point, indicating an overall decline or stability of clinical symptoms over time.
a Participants who had complete data at all 3 waves were included. Some assessments were added to the study later, yielding fewer total participants for those scales.




whereas transmen improved steadily                                 when studying, to be pursuing higher                                from friends regarding their gender
across the 3 time points (linear effect                            education (58% vs 31%).33                                           reassignment. After their GRS, many
only).                                                             Families were supportive of the tran-                               participants (89%) reported having
                                                                   sitioning process: 95% of mothers, 80%                              been never or seldom called names or
                                                                   of fathers, and 87% of siblings. Most                               harassed. The majority (71%) had ex-
Objective Well-Being
                                                                                                                                       perienced social transitioning as easy.
At T2, the participants were vocationally                          (79%) young adults reported having 3
similar to the Dutch population except                             or more friends, were satisﬁedwiththeir                             Subjective Well-Being
they were slightly more likely to live with                        male (82%) and female peers (88%), and                              None of the participants reported re-
parents (67% vs 63%), and more likely,                             almost all (95%) had received support                               gret during puberty suppression, CSH


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                                Transwomen (n = 17)                                                      Transmen (n = 28)

             4,50                                                             4,50
             4,00                                                             4,00
             3,50                                                              3,50
             3,00                                                              3,00
             2,50                                                              2,50
             2,00                                                              2,00
             1,50                                                              1,50
             1,00                                                              1,00
             0,50                                                              0,50
             0,00                                                              0,00
                          Intake       After Puberty      After GRS                         Intake      After Puberty       After GRS
                                       Suppression                                                      Suppression

                      -Primary (a)          -     secondary (b)                         -Primary (a)         -      secondary (b)

                      -      Neutral (c)                                                -      Neutral (c)



           Eta Squared for Linear and Quadratic Effects
               (a) Primary sex characteristics
                   Time: .79 (P< .001), .66 (P< .001),
                   Timex sex: .14 (P = .01), .01 (P = .45),
               (b) Secondary sex characteristics
                   Time: .3 l(P < .001), .30 (P < .001),
                   Timex sex: .06 (P= .10), .22 (P< .001)
               (c) Neutral body characteristics
                   Time: .07(P < .001 ), .09 (P = .29)
                   Timex sex: .16 (P= .007), .15 (P= .01)
FIGURE 1
BIS23 for transwomen and transmen at T0 (pretreatment, at intake), T1 (during treatment, at initiation of cross-gender hormones), and T2 (post-treatment,
1 year after GRS).


treatment, or after GRS. Satisfaction               = 2.82; P , .01) and on the psycho-                  DISCUSSION
with appearance in the new gender was               logical subdomain of the WHOQOL
                                                                                                         Results of this ﬁrst long-term evaluation
high, and at T2 no one reported being               (mean = 15.77; SD = 2.0 vs mean =
                                                                                                         of puberty suppression among trans-
treated by others as someone of their               13.92; SD = 2.5; t (53) = 2.95; P , .01).
                                                                                                         gender adolescents after CSH treat-
assigned gender. All young adults
                                                                                                         ment and GRS indicate that not only was
reported they were very or fairly sat-              Correlations With Residual Change
                                                                                                         GD resolved, but well-being was in many
isﬁed with their surgeries.                         Scores
                                                                                                         respects comparable to peers.
Mean scores on WHOQOL-BREF, the SWLS,               The residual change scores of sec-
                                                                                                         The effectiveness of CSH and GRS for the
and the SHS are presented in Table 4,               ondary sex characteristics, global
                                                                                                         treatment of GD in adolescents is in line
together with scores from large valida-             functioning, depression, anger, anxi-
tion and reliability studies of these               ety, and YSR total, internalizing and                with ﬁndings in adult transsexuals.35,36
measures,17,19,34 revealing similar scores          externalizing from T0 to T2, were sig-               Whereas some studies show that poor
in all areas except WHOQOL-Environment              niﬁcantly correlated with the 6 T2                   surgical results are a determinant of
subdomain, which was higher for the                 quality of life indicators. Most corre-              postoperative psychopathology and of
participants than the norm. There                   lation coefﬁcients were within the                   dissatisfaction and regret,37,38 all
were some differences across gender;                moderate to large magnitude (eg,                     young adults in this study were generally
transwomen scored higher than                       0.30–0.60), except depression, which                 satisﬁed with their physical appearance
transmen on the SWLS (mean = 27.7;                  was highly correlated (0.60–0.80) (see               and none regretted treatment. Puberty
SD = 5.0 vs mean = 23.2; SD = 6.0; t (52)           Table 5).                                            suppression had caused their bodies to


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TABLE 4 Subjective Well-Being: Quality of Life, Satisfaction With Life, and Subjective Happiness Mean Scores With Scores From Validation Studies
                                             N                   Mean (SD)                     Range                Validation Studies Scores Mean (SD)        Comparison P
         a                                                                                                                                 b
WHOQOL Physical                              55                  15.22 (2.49)                 8.6–20.0                           15.0 (2.9)                         .56
WHOQOL Psychological                         55                  14.66 (2.44)                6.67–20.0                           14.3 (2.8)b                        .24
WHOQOL Social Relations                      55                  14.91 (2.35)                 9.3–20.00                          14.5 (3.4)b                        .18
WHOQOL Environment                           55                  15.47 (2.06)                10.5–20.00                          13.7 (2.6)b                       ,.001
SWLS                                         54                  24.98 (6.0)                  9.0–35.0                          26.18 (5.7)c                        .16
SHS                                          54                   4.73 (0.77)                2.75–6.0                            4.89 (1.1)d                        .17
a WHOQOL, Bref, Skevington et al.16
b International ﬁeld trial, ages 21 to 30 years, Skevington et al.16
c Dutch young adults, Arindell et al.33
d US Public College Students, Lyubomirsky.18




not (further) develop contrary to their                                transgender youth in community sam-                      rity”) of the WHOQOL-BREF as even better
experienced gender.                                                    ples with high rates of mental health                    than the Dutch standardization sam-
Psychological functioning improved                                     disorders, suicidality and self-harming                  ple.17 Whereas in some other contexts
steadily over time, resulting in rates of                              behavior, and poor access to health                      transgender youth may experience
clinical problems that are indistinguish-                              services.21,22,39,40                                     gender-related abuse and victimiza-
able from general population samples                                   In this study, young adults who experi-                  tion,22,41,42 the positive results may also
(eg, percent in the clinical range dropped                             enced relatively greater improve-                        be attributable to supportive parents,
from 30% to 7% on the YSR/ASR30) and                                   ments in psychological functioning were                  open-minded peers, and the social and
quality of life, satisfaction with life, and                           more likely to also report higher levels                 ﬁnancial support (treatment is covered
subjective happiness comparable to                                     of subjective postsurgical well-being.                   by health insurance) that gender dys-
same-age peers.17,19,34 Apparently the                                 This ﬁnding suggests value to the                        phoric individuals can receive in the
clinical protocol of a multidisciplinary                               protocol that involves monitoring the                    Netherlands.
team with mental health professionals,                                 adolescents’ functioning, physically                     Both genders beneﬁtted from the clin-
physicians, and surgeons gave these                                    and psychologically, over many years,                    ical approach, although transwomen
formerly gender dysphoric youth the op-                                and providing more support whenever                      showed more improvement in body
portunity to develop into well-functioning                             necessary.                                               image satisfaction (secondary sex char-
young adults. These individuals, of whom                               This clinic-referred sample perceived                    acteristics) and in psychological func-
an even higher percentage than the                                     the Environmental subdomain (with                        tioning (anger and anxiety). None of the
general population were pursuing higher                                items like “access to health and social                  transmen in this study had yet had
education, seem different from the                                     care” and “physical safety and secu-                     a phalloplasty because of waiting lists or

TABLE 5 Correlations Between Residual Change in Psychological Functioning Over Time and Young Adult Subjective Well-Being
                                                                                         WHOQOL BREF

                                                     Physical               Psychological                 Social          Environment              SWLS             SHS
Gender dysphoria (UGDS)                             0.01 (.97)                  0.05 (.75)          20.09 (.57)           20.02 (.89)            0.06 (.71)      0.30 (.04)
Body image subscales (BIS)
  Primary sex characteristics                     20.22 (.14)              20.25 (.09)              20.35 (.02)           20.04 (.78)          20.22 (.14)     20.21 (.17)
  Secondary sex characteristics                   20.39 (.006)             20.45 (,.001)            20.47 (,.001)         20.34 (.02)          20.35 (.02)     20.26 (.08)
  Neutral body characteristics                    20.21 (.16)              20.27 (.07)              20.15 (.32)           20.28 (.06)          20.26 (.08)     20.16 (.28)
Psychological functioning
  Global functioning (CGAS)                        0.60 (,.001)             0.52 (.002)              0.52 (.002)           0.27 (.14)           0.58 (,.001)    0.50 (.004)
  Depression (BDI)                                20.76 (,.001)            20.72 (,.001)            20.51 (.002)          20.49 (.003)         20.61 (,.001)   20.77 (,.001)
  Trait anger (TPI)                               20.37 (.03)              20.18 (.31)              20.22 (.20)           20.29 (.09)          20.33 (.07)     20.35 (.05)
  Trait anxiety (STAI)                            20.58 (,.001)            20.64 (,.001)            20.38 (.03)           20.44 (.01)          20.49 (.004)    20.57 (,.001)
CBCL–ABCL
  Total T score                                   20.20 (.20)              20.12 (.45)              20.07 (.65)           20.14 (.35)          20.32 (.03)     20.16 (.29)
  Internalizing T score                           20.29 (.06)              20.29 (.06)              20.23 (.14)           20.12 (.44)          20.48 (,.001)   20.36 (.02)
  Externalizing T score                           20.13 (.40)              20.05 (.75)               0.16 (.29)           20.20 (.19)          20.15 (.36)      0.00 (.99)
Youth Self Report (YSR–ASR)
  Total T score                                   20.53 (,.001)            20.45 (.002)             20.33 (.03)           20.42 (.005)         20.52 (,.001)   20.55 (,.001)
  Internalizing T score                           20.62 (,.001)            20.61 (,.001)            20.47 (,.001)         20.40 (.007)         20.66 (,.001)   20.60 (,.001)
  Externalizing T score                           20.23 (.13)              20.10 (.53)              20.07 (.67)           20.37 (.02)          20.22 (.15)     20.35 (.02)
P values are in parentheses.



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a desire for improved surgery techni-              Age criteria forpubertysuppression and                  CONCLUSIONS
ques. This ﬁnding warrants further                 CSH are under debate, although they
                                                                                                           Results of this study provide ﬁrst ev-
study of the speciﬁc concerns of young             worked well for adolescents in the                      idence that, after CSH and GRS, a
transmen.                                          current study. Especially in natal fe-                  treatment protocol including puberty
Despite promising ﬁndings, there were              males, puberty will often start before the              suppression leads to improved psy-
various limitations. First, the study              age of 12 years. Despite the fact that                  chological functioning of transgender
sample was small and came from only 1              developing evidence suggests that cog-                  adolescents. While enabling them to
clinic. Second, this study did not focus on        nitive and affective cross-gender iden-                 make important age-appropriate de-
physical side effects of treatment. Pub-           tiﬁcation, social role transition, and age              velopmental transitions, it contrib-
lications on physical parameters of the            atassessment are relatedtopersistence                   utes to a satisfactory objective and
same cohort of adolescents are sub-                of childhood GD into adolescence, pre-                  subjective well-being in young adult-
mitted or in preparation. A concurring             dicting individual persistence at a young               hood. Clinicians should realize that
ﬁnding exists in the 22-year follow-up of          age will always remain difﬁcult.44 The                  it is not only early medical inter-
the well-functioning ﬁrst case now at age          age criterion of 16 years for the start of              vention that determines this success,
35 years who has no clinical signs of              CSH may be problematic especially for                   but also a comprehensive multidis-
a negative impact of earlier puberty               transwomen, as growth in height con-                    ciplinary approach that attends to the
suppression on brain development, met-             tinues as long as cross-sex steroids are                adolescents’ GD as well as their fur-
abolic and endocrine parameters, or                not provided (causing the growth plates                 ther well-being and a supportive en-
bone mineral density.43 Third, despite the         to close). Therefore, psychological ma-                 vironment.
absence of pretreatment differences on             turity and the capacity to give full in-
measured indicators, a selection bias              formed consent may surface as the                       ACKNOWLEDGMENTS
could exist between adolescents of the             required criteria for puberty suppres-                  The authors thank the young adults and
original cohort that participated in this          sion and CSH45 in cases that meet other                 their parents for their repeated partic-
study compared with nonparticipants.               eligibility criteria.                                   ipation in this study over the years.



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(Continued from ﬁrst page)
PEDIATRICS (ISSN Numbers: Print, 0031-4005; Online, 1098-4275).
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FINANCIAL DISCLOSURE: The authors have indicated they have no ﬁnancial relationships relevant to this article to disclose.
FUNDING: Supported by a personal grant awarded to the ﬁrst author by the Netherlands Organization for Health Research and Development (ZonMw 100002028).
POTENTIAL CONFLICT OF INTEREST: The authors have indicated they have no potential conﬂicts of interest to disclose.



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